Case 24-01898 Doc 45 Filed 05/01/24 Entered 05/01/24 23:06:27 Desc Main
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Declaration About an Individual Debtor's Schedules 12/5

two married people are filing together, both are equally responsible for supplying correct information.
‘You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or obtaining money

oF property by fraud in connection with a banknupicy case can fesull in fines up to $250,000, or imprisonment for up to 28
years, or both. 18 USC. §§ 152, 1341, 1519, and 3571.

22

Dki you pay or agree to pay Someone who is NOT an atiomey io help you fii out bankruptcy forms?

Wins

Lives. Name of person Atiach Bankruptey Pelition Preparers Mofice, Declaration, and
Signature {Oficial Form 178).

lnder penalty of perjury, i dectare that 1 have read the summary and schedutes filed with this deciaration and that they are true and correct.

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Date

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